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                                                                                 of 2
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                                                                          DOC #:
UNITED STATES DISTRICT COURT                                              DATE FILED: 04/22/2022
SOUTHERN DISTRICT OF NEW YORK
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 BRIAN FLORES, STEVE WILKS, and RAY                             :
 HORTON, as Class Representatives, on                           :
 behalf of themselves and all others similarly                  :
 situated,                                                      :
                                                                :
                                              Plaintiff,        :
                            -against-                           :
                                                                :
 THE NATIONAL FOOTBALL LEAGUE; NEW :
 YORK FOOTBALL GIANTS, INC. d/b/a NEW :
 YORK GIANTS; MIAMI DOLPHINS, LTD. d/b/a :                        22-CV-0871 (VEC)
 MIAMI DOLPHINS; DENVER BRONCOS                                 :
 FOOTBALL CLUB d/b/a DENVER BRONCOS; :                                ORDER
 HOUSTON NFL HOLDINGS, L.P. d/b/a                               :
 HOUSTON TEXANS; ARIZONA CARDINALS :
 FOOTBALL CLUB LLC d/b/a ARIZONA                                :
 CARDINALS; TENNESSEE TITANS                                    :
 ENTERTAINMENT, INC. d/b/a TENNESSEE, :
 TITANS and JOHN DOE TEAMS 1 through 26, :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS an initial pretrial conference in this matter is currently scheduled for

Monday, May 2, 2022 at 11:00 A.M., Dkt. 37; and

       WHEREAS the conference will be held in Courtroom 443 of the Thurgood Marshall

United States Courthouse, located at 40 Foley Square, New York, New York 10007.

       IT IS HEREBY ORDERED that counsel for the parties must attend the conference in

person. Any interested members of the public may attend the conference in person or remotely,

by dialing 1-888-363-4749, using the access code 3121171, and the security code 0871.

Recording or rebroadcasting the proceeding is strictly prohibited by law.
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       IT IS FURTHER ORDERED that by no later than Wednesday, April 27, 2022, the

parties must inform the Court how many counsel and client representatives (if any) will be

attending the conference in person. Each side will be allowed four representatives at counsel

table, with additional seating for the parties available in surrounding chairs and the gallery.

       IT IS FURTHER ORDERED that per the SDNY COVID-19 COURTHOUSE ENTRY

PROGRAM, any person who appears at any SDNY courthouse must complete a questionnaire.

Only those individuals who meet the entry requirements established by the questionnaire will be

permitted entry. Additionally, any person who appears at any SDNY courthouse must comply

with Standing Order M10-468 (21-MC-164), which further pertains to courthouse entry.



SO ORDERED.
                                                           ________________________
Date: April 22, 2022                                          VALERIE CAPRONI
      New York, New York                                    United States District Judge




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